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                 CONSENT ORDER GRANTING SUBSTITUTION OF ATToRNEY

             Noticc is hercby givcn that. subject to approval by the Coun. PlainlilTJohn !1. (ialrin Jr

    suhstitutcs Jcrr) S. Goldman, Statc Bar No. 1302454. as counscl ol rccord in placc ol'

    Flerschman Bonncr & Rocco t,LP. Joscph Pclcr Drcnnan. The Donahue [,aw F irm. l- l-(', and

    [.a\! olllce ofPatrick York Mcl.ane. Contact information for new counscl is as follour:

                     Andcrson Kill P.C.
                     I l5 I Avcnuc of thc Amcricas
                     Ne* York. NY 10020
                     Tclephonc: 212-278-1000
                     l-acsimilc: 2l2-218-l'lJ3
                     I:ma il: jgoldnran'n. andcrsonk ill.cont




    I consent to the above substitution                   John M Galvrn Jr
                                                           Signature of PlainliffJohn M (ial\ i
    f)atc:

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    I consent lo bc subslituted.
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    I)atc    ,-w                       Jcpl                218 Nonh Lee Street- lhird
                    T                                      Alexandria- VA lll     ll       'ff/'
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 I conscnt to be substitutcd.

 Dated: March 15 ,2024
                                                    P. Josc     rlrhuc
                                                    Tnf    NAIr r. l.Aw FtRNr. Lr ('
                                                    l8 West Strcct
                                                    Annapolis, MD 21401
                                                    410-2n0-2021
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 I conscnt to bc substitutcd

   Datcd: March I 5, 2024
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                                                    P. Yrrk     cl.rrrc
                                                    LAw Ohlrcri or- P YoRK M('LANE
                                                    14015 Park Dnvc, Suitc I I I
                                                    Tomball, Texas 77377
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  I conscnt to thc abovc substitution

  Datcd: lvg?bz_, 2024
          (lttla                                    Si                 ew Attorney

                                                                    Seltu g

  The substitution of attonley is hereby approved and so ORDERI:D.



  Datc:
                                                    U.S.D,J.




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